                                 Case 2:10-cv-06948-BMS Document 1 Filed 11/29/10 Page 1 of 15


""'IS 44 (Rev. 12/07)                                                                           CIVIL COVER SHEET
TheJS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service ofpleadings or other papers as required by law, ~xcept as provided
by local rules ofcourt This form approved by the Judicial Conference of the United States in September 1974, is required for the use ofthe Clerk of Court for the purpose ofmitiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I.   (a) PLAINTIFFS                                                                                                                         DEFENDANTS
     Whitford Wo~ldwide Company                                                                                                              Nanochem Technologies,                                           LLD      and
                                                                                                                                             GMM        Development Limited

      (b)     County ofResidence of First Listed Plaintiff                           Chester Cty,                          PA               County of Residence of First Listed Defendant                           Elkhart Conty,                           IN
                                          (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                                            (rN   u.s. PLAINTIFF CASES ONLY)
                                                                                                                                                      NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                                                             LAND INVOLVED.

    ( c) AdttorneY'HFinn Name, Address'lnd Telephone Number)                                                                                 Attorneys (IfKnown)
E d war      T. Kang, Esg. Beniamin E. Schmidt ESB
Weir          &
             Partners LLP, The Widener Bldg., Ste.5
Phi1a., PA            19107 -                             215-665-8181
II.    BASIS OF JURISDICTION                                        (Place an "X" in One Box Only)                         III, CITIZENSHIP OF PRINCIPAL P ARTIES(Ploce on ")C' in One Box for Plaintiff
                                                                                                                                     (For Diversity Coses Only)                               and One Box for Defendant)
tJ I      U.S. Government                         dC3 Federal Qnestion                                                                                         PTF  DEF                                      PTF      DEF
             Plaintiff                                  (U.S. Government Not a PRtty)                                          Citizen of This State           tJ 1 tJ I Incorporated or Principal Place      0 4 0 4
                                                                                                                                                                         of Business In Tlus State

tJ 2     U.S. Govenunent                          tJ 4 Diversity                                                                  Citizen of Another State                 tJ 2             tJ     Incol]lorated and Principal Place        tJ           o
            Defendant                                                                                                                                                                                 of Business In Another State
                                                              (Indicate Citizenship of Parties In Item Ill)
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tJ 110 Insurance                      PERSONAL INJURY                                       PERSONAL INJURY                              0 610 Agrlcultnre                       tJ 422 Appeal 28 USC 158            0    400 State Reapportionment
tJ 120 Marine                     tJ 310 Airplane                                        0 362 Persollal Injmy·                          0 620 Other Food & Drug                 0 423 Withdrawal                    tJ   410 Autitrust
tJ 130 Miller Act                 0 315 Airplane Product                                         Med. Malpractice                        tJ 625 Drug Related Seizure                    28 USC 157                   tJ   430 Banks ImdBanklng
o 140 Negotiable Instrument                Liability                                     tJ 365 Personal Injury -                                  o[Property 21 USC 881                                             tJ   450 Commerce
tJ 150 Recovery of Overpayment tJ 320 Assault, Libel &                                          Product Liability                        tJ 630 Liqnor Laws                         . '..PROR1<\RT¥'RIP.HTS,(c,,,,,: tJ   460 Deportation
          &En[orcementoflndgment           Slander                                       tJ 368 Asbestos Personnl                        0 640 R.R. & Truck                      .Q 820 Copyrights                   tJ   470 Racketeer Influenced and
tJ 151 MedlcRte Act               tJ 330 Federal Employers'                                     Injury Prodnct                           tJ 650 Airline Regs.                    -m     830 Patent                            Com'pt Organizations
tJ 152 Recovery ofDefaulted                Liability                                             Liability                               tJ 660 Occupational                      tJ 840 Trademark                   tJ   480 Consumer Credit
          Student Loans           tJ 340 Marine                                           PERSONAL PROPERTY                                        Safety/Health                                                     tJ   490 Cable/SatTV
          (Exc!. Veterans)        tJ 345 Marine Product                                  tJ 370 OdIeI' Fraud                             tJ 6900lher                                                                 tJ   810 Seleclive Service
tJ 153RecoveryofOverpayment                Liability                                     tJ 371 Truth in Lending                                          LAllOR'.                      socrA,USEC mr ,y;,;Ii<',.:C 0     850SecuritlesiCommodlties/
          ofVeterall', Benefit,   tJ 350 Motor Vehicle                                   tJ 380 Other Personal                           tJ 710 Fair Labor Standnrds              tJ 861 RIA (1395ff)                         Exchange
tJ 160 Stockholders' Suits        tJ 355 Motor Vehicle                                          PropeIty Damage                                   Act                             0 862 Black Lung (923)             tJ   875 Customer ChaUenge
tJ 190 Other Contract                      Product Liability                             0 385 Property Dnmage                           tJ 720 Labor/MgJUt. Relations            0 863 DIWC/DIWW (405(g»                     12 USC 3410
tJ 195 Contract Product Liability tJ 360 Other Personal                                         Prodnct Liability                        tJ 730 Labor/Mgmt.Reporting              0 864 ssm Title XVI                0    890 Odler Statutory Actions
tJ 196 Franchise                           Injnry                                                                                                 & DiSClosure Act                0 865 RSI (405(g))                 0    891 Agricnlturol Acts
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 tJ 220 Foreclosure                              tJ 442 Employment                                       Sentence                        tJ 791 Empl. Ret. Inc.                              or Defendant)           tJ   894 Energy Allocation Act
 tJ 230 Rent Lease & Ejectment tJ 443 Housing!                                                     Hnbens Corpus:                                 Secutit)' Act                   0 871 IRS-Third Party              0    895 Freedom ofInfoon.tion
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 o 290 All Other Real Property tJ 445 Amer. w/Dlsobilities - tJ 540 Mandnmlls & Other tJ 462 Naturalization Application                                                                                                       Under Equal Access
                                                           Eluployment                        tJ 550 Civil Rights                        tJ 463 Hubeus Corpus -                                                               to Jnstice
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                                                           Other                                                                         tJ 465 Other IlI1l1\igratlon                                                         State Statutes
                                                 tJ 440 Odler Civil Rights                                                                       Actions



V. ORIGIN                           (Place an "X" in One Box Only)                                                                                                                                                                      Appeal to District
~ 1 Original                   o     2 Removed from             0                3     Remanded from                    0 4       Reinstated or          0      5 Transferr~d ~rom 0 6                    Multidistrict       o     7   Judge from
                                                                                                                                                                                                                                        Magistrate
         Proceeding                      State Court                                   Appellate Court                            Reopened                           anoth,er dIstrict                    Litigation
                                                                                                                                                                      s eClf                                                            Jud ment
                                                      Cite tbe.U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION                                        J.5 U.S.C. Section '271
                                                      Brief description of cause:
                                                             Patent i n f r i n ement
VII. REQUESTED IN                                     o      CHECKIF THIS IS A CLASS ACTION                                                                                                      CHECK YES only if demanded in complaint:
         COMPLAINT:                                          UNDERF.R.C.P.23                                                                                                                     JURY DEMAND:                ~ Yes         0 No
VIII. RELATED CASE(S)
            IF ANY
DATE

   11/29/20.10                                                                                                                                                                                                       Edward T.                   K   n
FOR OFFICE USE ONLY

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JS 44 Reverse (Rev. 12/07)


                       INSTRUCTIONS FOR ATTORNEYS COMPLE TING CIVIL COVER SHEET FORM JS 44

                                                                 Authority For Civil Cover Sheet
    The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service ofpleading or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference ofthe United States in September 1974, is required for the use
ofthe Clerk ofCourt for the purpose ofinitiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk ofCoUltfor each civil complaint
filed. The attorney filing a case should complete the form as follows:
I.       (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) ofplaintiff and defendant. If the plaintiffor defendant is a government agency, use only
the full name or standard abbreviations. lfthe plaintiffor defendant is an official within a gove1'llment agency, identiiy first the agency and then the official, giving
both name and title.
        (b) County ofResidence. For each civil case filed, except U.S. plaintiff cases, enter the name ofthe county where the first listed plaintiffresides at the time
offiling. In U.S. plaintiff cases, enter the name ofthe county in which the first listed defendant resides at the time offiling. (NOTE: In land condemnation cases,
the county of residence of the "defendant" is the location of the tract ofland involved.)
         (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section"(see attachment)".
II.    Jurisdiction. The basis ofjurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an "X" in one
ofthe boxes. If there is more than one basis ofjurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and offlcers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty ofthe United States. In cases where the U.S. is a pmty, the U.S. plaintiffor defendant code takes precedence, and box
1 or 2 should be marked.
Diversity ofcitizenship. (4) This refers to suits under 28 U. S. C. 1332, where parties are citizens of different states. When Box 4 is checked, the citizenship of the
different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)
III.    Residence (citizenship) ofPrincipal Parties. This section ofthe JS 44 is to be completed ifdiversity ofcitizenship was indicated above. Mark this section
for each principal party.
IV.     Nature ofSuit. Place an "X" in the appropriate box. If the nature ofsuit cannot be detelTIlined, be sure the cause afaction, in Section VI below, is sufficient
to enable the deputy clerk 01' the statistical clerks in the Administrative Office to determine the nature of suit. If the cause fits more than one nature ofsuit, select
the most definitive.
V.     Origin. Place an "X" in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State COUlt. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition
f01'1'emoval is granted, check this box.
Remanded flum Appellate COUlt. (3) Check this box for cases remanded to the district court for further action. Use the date ofremand as the filing date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transfelTed under Title 28 U. S.c. Section 1404(a). Do not use this for within district transfers 01' multidistrict
litigation transfers.
Multidistrict Litigation. (6) Checkthis box when a multidistrict case is transferred into the district under authority ofTitle 28 U.S.C. Section 1407. When this box
is checked, do not check (5) above.
Appeal to District Judge from Magistrate Judgment. (7) Check tlus box for an appeal from a magistrate judge's decision.
VI.    Cause ofAction. Report the civil statute directly related to the cause ofaction and give a briefdescription ofthe cause. Do not cite jurisdictional statutes
unless divcrsity.         Example:               U.S. Civil Statute: 47 USC 553
                                                 BriefDescriptiol1: Onautfiol'lzed reception of cable service
VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded 01' indicate other demand such as a preliminaty injunction.
JUlY Demand. Check the appropriate box to indicate whether or not ajury is being demanded.
VIII. Related Cases. This section of the JS 44 is used to reference related pending cases if any. If there are related pending cases, insert the docket numbers
and the c01'1'espondingjudge names for such cases.
Date and Attorney Signatul'e. Date and sign the civil cover sheet.
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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA



WHITFORD WORLDWIDE COMPANY                            CIVIL ACTION

                        Plaintiff,
                                                      NO.
        v.

NANOCHEM TECHNOLOGIES, LLC and                        Jury Trial Demanded
GMM DEVELOPMENT LIMITED

                        Defendants.




                                           COMPLAINT

        Plaintiff, Whitford Worldwide Company, by and through its undersigned counsel, brings

this Complaint against the above-referenced Defendants and in support thereof avers as follows:

                                     JURISDICTION AND VENUE

        1.       This Complaint involves, inter alia, claims for patent infringement arising under

the patent laws of the United States, Title 38, United States Code and this Court has jurisdiction

over those claims under 28 U.S.c. § 1338, which directs that District Courts shall have original

jurisdiction of any civil action arising under any act of Congress relating to patents.

       2.        Venue is proper in this District under and pursuant to 28 U.S.C. § 1331 and

pursuant to 28 U.S.C. § 1391(b) in that Defendants had continuing and substantial contacts as

well as a number of the acts, practices, and events giving rise to the claims alleged in this

Complaint occurred in this District, and Plaintiff maintains its principal offices in this District.
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                                             PARTIES

        3.       Plaintiff Whitford Worldwide Company ("Whitford") is a business corporation

organized and existing under the laws of the State of Delaware with its principal place of

business located at 47 Park Avenue, Elverson, Pennsylvania.

       4.        Defendant Nanochem Technologies, LLC ("Nanochem") is an Indiana limited

liability company with its principal place of business located at 1203 Kent Street, Elkhart,

Indiana 46514 and does continuing and substantial business in the Commonwealth of

Pennsylvania.

        5.       Defendant GMM Development Limited ("GMM") is an Indiana business

corporation with a principal place of business located at 1179 Kent Street, Elkhart, Indiana

46514 and does continuing and substantial business in the Commonwealth of Pennsylvania.

                                   FACTUAL BACKGROUND

                A.     Akzo Nobel's Patents and Trade Secrets

       6.       Akzo Nobel Coatings International B.V. and its affiliates created certain non-stick

coatings, products, and/or formulas that are protected by trade secrets as that term is defined

under the Pennsylvania Uniform Trade Secrets Act (the "Act").

       7.       In addition to its trade secrets, after considerable effort by Akzo Nobel Coatings

International B.V. and its affiliates, several inventions relating to non-stick coatings, including,

but not limited to, a Multilayer Non-Stick Coating, Non-Stick Coatings and Methods of Forming

Same, and an Electrically Conducive Non-Stick Coating were conceived and reduced to practice.

       8.       After successfully building and testing these coatings and methods of making

such coatings, Akzo Nobel Coatings International B.V. and its affiliates prepared and filed U.S.

Patent Application Serial Nos. 10/661,725, 10/727,791, 11/153,289, 10/958,097 on September
                                                     !




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              Case 2:10-cv-06948-BMS Document 1 Filed 11/29/10 Page 5 of 15



12,2003, December 3, 2003, June 15,2005, and October 4,2004, respectively, in the U.S. Patent

and Trademark Office ("PTO") to protect the new non-stick coating inventions enumerated

above.

         9.       After thorough examinations by patent examiners in the PTO, the applications

were issued by the PTO on March 8, 2005, July 26, 2005, May 20, 2008, and April 8, 2008, as

U.S. Letters Patent Nos. 6,863,974; 6,921,787; 7,375,152; and 7,354,648 (the "Issued Patents").

See a copy of the Issued Patents covering the non-stick coating inventions, attached hereto as

Exhibit "A."

         10.      In addition, one of these coating inventions later became the subject of an

international patent application, pursuant to the Patent Cooperation Treaty ("PCT"), on February

9, 2009, as international patent application PCT/CN2009/070381 (the "PCT Application"). See

PCT Published International Application attached hereto as Exhibit "B."

         11.      On August 12, 2010, the PCT Application was published as WO 2010/088801

AI. See Exhibit "B."

                 B.      Akzo Nobel's Agreement with Nanochem

         12.      On June 2, 2008, Nanochem entered into an agreement (the "Agreement") with

Akzo Nobel Non-Stick Coatings, LLC, an affiliate of Akzo Nobel Coatings International B.V.

(Akzo Nobel Coatings International B.V., Akzo Nobel Non-Stick Coatings, LLC, and all "Akzo

Nobel" affiliates are collectively known and referred to herein as "Akzo Nobel") under the terms

of which Nanochem agreed to manufacture certain products for Akzo Nobel (the "Products"),

using the inventions and/or trade secrets of Akzo Nobel. See a copy of the Agreement, attached

hereto as Exhibit "C."




                                                3
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        13.    Pursuant to the Agreement, Nanochem agreed that, inter alia, trade secrets,

formulas, product specifications, processing know-how, and any samples provided by Akzo

Nobel were "confidential information." See Exhibit "C."

       14.     The Agreement strictly prohibited Nanochem from analyzing, determining or

attempting to determine "the chemical composition and/or physical structure" of the Products

"provided to Nanochem except to the extent necessary" to manufacture the Products.             See

Exhibit "C."

       15.     Further, Nanochem was prohibited from disclosing any of Akzo Nobel's

confidential information outside oftheir "processing know-how." See Exhibit "C."

               C.      Whitford's Acquisition of the Akzo Nobel Patents and Trade Secrets and
                       the Agreements Regarding Same

       16.     In May of 2009, Whitford completed a transaction with Akzo Nobel pursuant to

which Whitford acquired all of the liquid non-stick coating business and the powder non-stick

coating business for cookware and bakeware of Akzo Nobel throughout the world, including,

without limitation, at Akzo Nobel's locations in the United States.

       17.     This transaction resulted in Whitford acquiring, among other things, the Products,

the invention that was subject to the PCT Application, the Issued Patents and trade s~crets.

       18.     Whitford also acquired all of Akzo Nobel's rights under the Agreement. In other

words, as a result of Whitford's acquisition, it now stands in the shoes of Akzo Nobel under the

Agreement.

               D.     Nanochem, GMM and their common bond: CCC

       19.     In addition to the above, and by way of further background, GMM, an affiliate of

Nanochem, is connected by Nanochem in that it shares much ofNanochem's business operations

and also employs a number of people who also work or worked for Nanochem.



                                                4
          Case 2:10-cv-06948-BMS Document 1 Filed 11/29/10 Page 7 of 15




        20.        These GMM people who work or worked for Nanochem are also former owners

and/or employees of Coatings and Chemicals Corporation ("CCC").

        21.        CCC sold its assets and technologies to Akzo Nobel in or about 2001 forfeiting

any right to use, manufacture, reproduce, sell, or offer to sell the technologies and/or trade

secrets that were sold to Akzo Nobel by CCC which now are in the possession of Whitford

through the acquisition.

        22.     Likewise, the former CCC employees and/or owners, now with GMM, do not

have the right to use, manufacture, reproduce, sell or offer to sell the technologies and/or trade

secrets that CCC sold to Akzo Nobel and which are now in the possession of Whitford through

the acquisition.

                E.       Misappropriation ofTrade Secrets and Infringement ofthe Patents

        23.     In or about March, 2010, Whitford became aware that Nanochem and GMM

began using the Products, the inventions covered under the Issued Patents, the trade secrets

technologies, and the invention that is the subject of the PCT Application, all of which belonging

to Whitford, for their own purposes, including the manufacture and/or sale of non-stick coating

products to third parties.

        24.     Unbeknownst to Whitford, Nanochem and GMM have been selling to third-

parties, products, which were created using Whitford's inventions, trade secrets and/or

technologies, which deceived, confused or led these third-parties as to the origin, quality or

nature ofthe products by virtue oftheir substantial similarity to Whitford's products.

        25.     Whitford also became aware that Nanochem and GMM have been using the

invention that was subject to the PCT Application to create and/or manufacture products which

infringes the invention claims set forth in Whitford'.s PCT Application.
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          Case 2:10-cv-06948-BMS Document 1 Filed 11/29/10 Page 8 of 15




       26.      Nanochem and GMM were prohibited from using any inventions covered under

the Issued Patents and/or PCT Application.

       27.      Similarly, Nanochem was prohibited by the terms of the Agreement and/or tmder

relevant law from providing GMM, or any other party, the inventions, trade secrets, formulas,

product specifications, information and samples that were provided by Akzo Nobel which

Whitford acquired.

       28.      To protect its rights under the Issued Patents, as well as the Agreement, Whitford,

through its counsel, contacted Nanochem, at least four occasions, on March 10,2010, April 15,

2010, May 7, 2010, and June 10, 2010 to confirm, inter alia, Nanochem's compliance with the

Agreement. See a copy of the four letters is attached hereto, collectively, as Exhibit "D."

       29.      Despite the repeated requests, Nanochem has failed to or otherwise refused to

confirm its compliance with the Agreement.

                                             COUNT I
                                 PATENT INFRINGEMENT
                             (PLAINTIFF v. ALL DEFENDANTS)

       30.      Whitford incorporates herein by reference the allegations contained in all of the

preceding paragraphs above as though set forth in their entirety.

       31.      The claim of patent infringement against all the Defendants arises under 35

U.S.C. § 271.

       32.      Defendants manufactured, reproduced, sold, offered to sell, and/or used the

invention, which constitutes infringement of patent Nos. 6,863,974; 6,921,787; and 7,375,152

7,354,648 and/or induces infringement of patent Nos. 6,863,974; 6,921,787; 7,375,152; and

7,354,648.




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        33.       Defendants' conduct also infringes the invention covered under the PCT

Application.

        34.       Defendants' acts are deliberate and willful and will continue unless enjoined by

this Court.

        35.       As a result of Defendants' deliberate and willful acts, Whitford has suffered

damage, including loss of profits, loss of business, loss of future profits, legal fees, and costs.

        WHEREFORE, Plaintiff Whitford Worldwide Company demands judgment against

Defendants, Nanochem Technologies, LLC and GMM Development Limited, jointly and

severally, for:

                  (a).   Finding that Defendants have infringed Plaintiffs U.S. Letters Patent Nos.

6,863,974; 6,921,787; 7,375,152; and 7,354,648;

                  (b).   Finding that Defendants have infringed the invention covered under

PCT/CN2009/07038l;

                  (c).   An award of damages against Defendants as a result of the acts

complained of herein;

                  (d).   Finding that Defendants' acts were willful and deliberate;

                  (e).   An award of treble damages based on Defendants' willful infringement;

                  (t).   Plaintiffs reasonable attorney's fees and costs;

                  (g).   An award of prejudgment and post judgment interest;

                  (h).   An injunction enjoining Defendants, their officers, agents, servants,

employees, attorneys, and all of the persons in active concert of participation with them, during

the pendency of this action and permanently thereafter, from any and all acts of infringement of

patent Nos. 6,863,974; 6,921,787; 7,375,152; 7,354,648; and/or PCT/CN2009/070381;
                                                       f




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            Case 2:10-cv-06948-BMS Document 1 Filed 11/29/10 Page 10 of 15




                  (i).   An accounting for profits received by Defendants as a result of the acts

complained of herein;

                  0).    Ordering that all items infringing patent Nos. 6,863,974; 6,921,787;

7,375,152; 7,354,648; PCT/CN2009/070381, complete with their instructions, technical data

sheets, and other written literature delivered to Plaintiff; and

                  (k).   For such other and further relief as the Court deems equitable and just.

                                        COUNT II
                          MISAPPROPRIATION OF TRADE SECRETS
                             (PLAINTIFF v. ALL DEFENDANTS)

           36.    Whitford incorporates herein by reference the allegations contained in all of the

preceding paragraphs above as though set forth in their entirety.

        37.       The claim of misappropriation of trade secrets against all the Defendants arises

under 12 Pa.C.S.A. § 5300 et seq., the Act.

        38.       Defendants manufactured, reproduced, sold, offered to sell, and/or used the

Plaintiff s trade secrets, all of which constitutes misappropriation as that term is defined under

the Act.

        39.       Defendants' acts are deliberate and willful and will continue unless enjoined or

other affirmative action is taken by this court.

        40.       As a result of Defendants' deliberate and willful acts, Plaintiff has suffered

damages, including loss of profits, loss of business, loss of future profits, legal fees, and costs.

        WHEREFORE, Plaintiff Whitford Worldwide Company demands judgment against

Defendants, Nanochem Technologies, LLC and GMM Development Limited, jointly and

severally, for:

                  (a).   Finding that Defendants have misappropriated Plaintiffs trade secrets;
                                                       I




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         Case 2:10-cv-06948-BMS Document 1 Filed 11/29/10 Page 11 of 15




                (b).    An award of damages against Defendants as a result of the acts

complained of herein;

                (c).    Finding that Defendants' acts were willful and as a result, damages be

increased to the maximum amount allowed by law;

                (d).    Plaintiffs reasonable attorney's fees, interests, and costs;;

                (e).    An award of prejudgment and post judgment interest;

                (:t).   An injunction enjoining Defendants, their officers, agents, servants,

employees, attorneys, and all of the persons in active concert of participation with them, during

the pendency of this action and permanently thereafter, from any and all acts in misappropriation

of the trade secrets;

                (g).    An accounting for profits received by Defendants as a result of the acts

complained of herein;

                (h).    Ordering that all items misappropriated, complete with their instructions,

technical data sheets, and other written literature delivered to Plaintiff; and

                (i).    For such other and further relief as the Court deems equitable and just.

                                        COUNT III
                                   BREACH OF CONTRACT
                                 (PLAINTIFF v. NANOCHEM)

       41.      Plaintiff incorporates herein by reference the allegations contained in all of the

preceding paragraphs above as though set forth in their entirety.

       42.     Defendant, Nanochem entered into a valid and binding contract (i.e., the

Agreement) with Akzo Nobel.

       43.     Plaintiff, who acquired all of the liquid non-stick coating business and the powder

non-stick coating business for cookware and bakeware of Akzo Nobel throughout the world,
                                                      I




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including, without limitation, at Akzo Nobel's locations in the United States, now stands in the

shoes of Akzo Nobel under the Agreement.

        44.     When Nanochem used, inter alia, the Products, including, but not limited to, the

patented materials, trade secrets, formulas, product specifications, information, invention that is

the subject the PCT Application, and samples that were provided by Akzo Nobel to Nanochem

for its own purpose, it was in breach of the Agreement.

        45.     Nanochem's breach has caused Plaintiff to suffer damage, including loss of

profits, loss of business, and loss of future profits.

        WHEREFORE, Plaintiff Whitford Worldwide Company, demands judgment against

Defendants, Nanochem Technologies, LLC and GMM Development Limited, jointly and

severally, for all direct and consequential damages plus interest, costs of suit, and for such other

relief as the Court deems equitable and just.

                                              COUNT IV
                   UNFAIR COMPETITION UNDER THE LANHAM ACT
                          (PLAINTIFF v. ALL DEFENDANTS)

        46.     Plaintiff incorporates herein by reference the allegations contained in all of the

preceding paragraphs above as though set forth in their entirety.

        47.     The unfair competition claim against Defendants arises under Section 43(a) of the

Lanham Act, 15 U.S.C. § 1125(a).

        48.     Defendants, without authorization, represented to various third-parties that certain

products were created by the Defendants using Defendants' own trade secrets, patents, formulas,

information and/or materials.




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        49.       These products, however, were created using Whitford's patented materials, trade

secrets, formulas, information, inventions, invention that is the subject of the PCT Application,

and/or samples.

        50.       These products deceived, confused or led these third-parties as to the ongm,

quality or nature of the products by virtue of their substantial similarity to Whitford's products

        51.       These unsuspecting third-parties paid Defendants for, used and/or came into

possession of the products made by Defendants, believing that these products have the same

original, quality or nature of the products made by or belonging to Whitford.

        52.       But for Defendants' conduct, these third-parties would never have purchased

these products.

        53.       Defendants' profited from the unauthorized use of Plaintiffs patents, trade

secrets, formulas, information, inventions, invention that is the subject of the PCT Application,

and/or samples.

        54.       Defendants' deceptive conduct constitutes false advertising and/or unfair

competition within the meaning of the Lanham Act, Section 43 (a), 15 U.S.C. §l125(a).

        55.       As a result of Defendants' unfair practices, Plaintiff s have suffered damages,

including loss of profits, loss of business, loss of future profits, legal fees and costs.

        WHEREFORE, Plaintiff Whitford Worldwide Company demands judgment against the

Defendants, Nanochem Technologies, LLC and GMM Development Limited, jointly and

severally, for all damages plus interest, costs of suit, and punitive damages for their intentional,

willful, and deceptive conduct, and for such other relief as the Court deems equitable and just.




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                                         COUNT V
                                       CONVERSION
                              (PLAINTIFF v. ALL DEFENDANTS)

        56.      Plaintiff incorporates herein by reference the allegations contained in all of the

preceding paragraphs above as though set forth in their entirety.

        57.      Defendants had no authority to take, retain or use the Products, including, but not

limited to, the Patents, the invention that is the subject of the PCT Application, and trade secrets.

        58.      Plaintiffs Products, including, but not limited to the Patents, the invention that is

the subject of the PCT Application, and trade secrets are the property of and rightfully belong to

the Plaintiff.

        59.      Plaintiffs property was lmowingly and intentionally converted by Defendants and

Defendants had no interest in, or right to receive or lawful right to take possession of, the

property.

        60.      Defendants acted with the intent of permanently dispossessing Plaintiff of the

Plaintiff s property.

        61.      Defendants have failed and refused to return the property to Plaintiff even though

they have no legal or factual basis to retain the property.

        62.      Defendants' actions in intentionally, wrongfully and purposefully taking

possession of the Plaintiff s property, the fraudulent manner in which Defendants dispossessed

the Plaintiff of the property, and the complete absence of any right of Defendants to the property,

constitutes such intentional, willful and malicious actions as to entitle the Plaintiff to recover

punitive damages.

        WHEREFORE, Plaintiff Whitford Worldwide Company demands judgment against the

Defendants, Nanochem Technologies, LLC and GMM Development Limited, jointly and




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severally, for damages, plus interest, costs of suit, and punitive damages for their intentional,

willful, wanton and reckless conduct, and for such other relief as the Court deems equitable and

just.




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